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                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )            Case No. 8:13CR106
                                          )
                     Plaintiff,           )                  ORDER TO DESTROY
                                          )
              vs.                         )
                                          )
                                          )
THOMAS SPENCER,                           )
                                          )
                     Defendant.           )


       Counsel for the defendant notified the court on January 19, 2018 that counsel

wishes the following exhibits held by the court in this matter to be destroyed.



                    Defendant’s Exhibits from hearing held 4/26/2013



       Pursuant NECivR 79.1(f) or NECrimR 55.1(g), if counsel fails to show cause why

the exhibits should not be destroyed, the clerk’s office is directed to destroy the above-

listed exhibits 14 days from the date of this order.

       IT IS SO ORDERED.

       DATED: January 24, 2018



                                                  BY THE COURT



                                                  s/ Joseph F. Bataillon
                                                  Senior United States District Judge



                                                                Exhibits-Order_to_Destroy.docx
                                                                             Approved 12/17/15
